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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA, )
                               )
      vs.                      )   Docket No. 14-cr-10201-DJC
                               )
ERIC McPHAIL,                 )
            Defendant.         )
_____________________________ )

                MOTION TO DISMISS SUPERSEDING INDICTMENT
            BASED ON FAILURE TO PRESENT NEW AND/OR ADDITIONAL
                EVIDENCE TO THE GRAND JURY TO CHANGE OR
                 AMEND THE FACTUAL PREDICATE ON WHICH
                         THE INDICTMENT IS BASED

       Now comes the Defendant, Eric McPhail, by and through undersigned counsel, pursuant

to the Fifth and Sixth Amendments to the United States Constitution, and Rules 12(b)(3) and 7 of

the Federal Rules of Criminal Procedure, and hereby moves the Court for an order dismissing the

superseding indictment returned in this case, as it fails to state a crime and fails to afford the

defendant constitutionally adequate notice of the charges against him and it does not constitute a

plain, concise and definite written statement of the essential facts constituting the offense

charged. See Russell v. United States, 369 U.S. 749, 82 S.Ct. 1038 (1962); United States v.

Tomasetta, 429 F.2d 978 (1st Cir.1970); Fed.R.Crim.P. 7.

       The defendant relies on the memorandum of law incorporated herein and filed

simultaneously herewith.
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                                   REQUEST FOR ORAL ARGUMENT

         The defendant respectfully requests oral argument on the within motion.


                                                               Respectfully submitted,
                                                               Eric McPhail, defendant
                                                               By his attorneys,
                                                               /s/ Thomas       R. Kiley
                                                               /s/ William J. Cintolo
                                                               __________________________
                                                               Thomas R. Kiley, BBO No. 271460
                                                               William J. Cintolo, BBO No. 084120
Dated: March 2, 2015                                           COSGROVE EISENBERG & KILEY
                                                               One International Place, Suite 1820
                                                               Boston, MA 02110
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                                                               WCintolo@CEKLaw.net
                                               Certificate of Service

         I, William J. Cintolo, hereby certify that on this date, March 2, 2015, a copy of the foregoing document has
been served via electronic filing upon all registered parties, including Assistant U.S. Attorney(s)

                                                               /s/ William J. Cintolo
                                                                _____________________
                                                               William J. Cintolo
